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IN THE UNITED STATES DISTRICT COURT
FOR THE `WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

07/21/2005

CASE NO: 05-20276-B

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US DISTRICT COURT

